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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                    )
 CITY OF GREENVILLE, et al., individ-               )
 ually, and on behalf of all others similarly       )
 situated,                                          )
                                                    )       Case No.: 3:10-cv-00188-JPG-PMF
         Plaintiffs,                                )
                                                    )
 vs.                                                )
                                                    )
 SYNGENTA CROP PROTECTION,                          )
 INC., and SYNGENTA AG,                             )
                                                    )
         Defendants.                                )
                                                    )


                 DECLARATION OF PROFESSOR ROBERT C. FELLMETH


 I, Robert C. Fellmeth, being first duly sworn upon my oath, depose and state as follows:

         1.      I certify that the statements set forth in this instrument are true and correct. I make

 the following statements based on my personal knowledge and if called, I could competently tes-

 tify to the matters stated herein.

         2.      I am a graduate of Stanford University (AB 1967) and Harvard University (JD

 1970). I currently hold the Price Chair in Public Interest Law at the University of San Diego

 School of Law. I direct the Center for Public Interest Law (CPIL). CPIL is an academic and

 statewide public interest advocacy group representing the interests of consumers, with particular

 focus on regulatory and utility matters. CPIL publishes the California Regulatory Law Reporter,

 monitoring and discussing the activities of major state regulatory agencies.

         3.      My resume is attached as Exhibit “A” hereto and is incorporated herein by refer-

 ence as though fully set forth. The resume details publications and other background relevant to

 the opinions offered below. The issues before this Honorable Court in considering the settlement
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 and proposed fee determination involve the intersection of consumer and class action law and

 legal ethics. These two areas have been the focus of much of my professional and scholarly

 work over the past 35 years. The following elements of my background are cited for foundation-

 al purposes:

            a. 22 years of teaching consumer law, including coverage of class action issues;

            b.   14 years teaching regulated industries or utility law – including issues of water

                 regulation -- and unfair competition law;

            c. service on the faculty of the National Judicial College in Reno, Nevada, the Cali-

                 fornia Judicial College and the National College of District Attorneys – teaching

                 courses relevant to consumer law;

            d. 16 years of teaching Public Interest Law and Practice, including issues pertaining

                 to the ethical obligations of public interest counsel;

            e. appellate advocacy as a prosecutor or as public interest counsel in 11 reported

                 cases involving unfair competition, class action procedures or legal ethics (see list

                 of cases in Exhibit “A” hereto);

            f. service of nine years as a white collar crime prosecutor, and the arrangement and

                 monitoring of 22 systems of restitutions to consumer, including cy pres relief;

            g. consultant to the Law review Commission of the state Legislature from 1993 to

                 1996 reviewing California’s Unfair Competition Act and related class action and

                 collateral estoppel problems (see Unfair Competition Litigation, Recommendation

                 and Report, California Law Revision Commission, State of California, November

                 1996);




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              h. service as State Bar Discipline Monitor of California from 1987 to 1992, appoint-

                 ed by the Attorney General and reporting to the Chief Justice of the California

                 Supreme Court;

              i. scholarship, including ten consumer/regulatory law books and treatises, and appro

                 is not outside the range of such awards in analogous cases, approximately 20 arti-

                 cles and conference presentations;

              j. expert testimony or consultation in approximately thirty matters over the last ten

                 years involving consumer law, unfair competition, utility law and/or legal ethics -

                 testimony that more often than not is critical of the practices of involved counsel,

                 including retention by the federal government in the Orange County Alliance cas-

                 es accusing attorneys representing insured plaintiffs of unethical billing and other

                 practices;

              k. 4 years of service on the Board of Directors of Consumers Union of the United

                 States, and service from 1994 to the present as Chairman of the Board of Public

                 Citizen Foundation in Washington, D.C.

         4.      The opinions below are not those of any other person or organization with which I

 am or have been affiliated. CPIL has not received substantial contributions from instant counsel

 or from trial attorneys or from their professional trade associates, i.e., contributions from such

 sources do not exceed one percent of the budget of CPIL over its two decades of existence. Most

 of the cases where I have been retained as an expert witness over the past decade have involved

 retention by parties critical of attorney practices at issue.




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                                         Opinion Requested

        5.       I have been asked to render an expert opinion as to the reasonableness of the pro-

 posed settlement in the above-entitled case.

                                       Documents Reviewed

        6.      I have reviewed applicable law and the settlement terms, the declaration of Chris-

 tie Deaton, copies of the notice documents, objections and plaintiffs’ response to objectors (e.g.,

 Joseph Palmer), the settlement agreement and related documents, see

 www.atrazinesettlement.com.

                         Fundamental Features of the Litigation/Settlement

        7.      This is in some ways a class action illustrating the raison d’être of the mechanism.

 There is a complicated contaminant from a product that also has beneficial application for agri-

 cultural production (the herbicides widely used and produced by the defendant). It involves sig-

 nificant allegations with public health implications. For a discussion of the implications of atra-

 zine in drinking water and new research indicating harm at lower concentrations than previously

 thought, see http://www.nytimes.com/2009/08/23/us/23water.html?pagewanted=all. For more

 recent findings concerning the transformation of frogs from male to female, see

 http://newscenter.berkeley.edu/2010/03/01/frogs/     This product leaves a residue of the atrazine

 chemical, implicating an external cost that, unless stemmed, may accumulate with potential ir-

 reparable harm. The mechanism of this class action is to (a) begin to make those who treat

 drinking water aware of the need to measure those levels and (b) to alert them to the need to treat

 it for public protection and (c) to provide resources to finance some or all of those safeguards.

 The class members here are water systems suffering a contamination problem allegedly traced to




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 the defendant’s products and who are uniquely able to engage in the critical measurement and

 protection function.

        8.      Notice in this case under the preliminarily approved plan included: (a) direct mail

 notice, (b) publication notice, and (c) a website with detailed information (see above). Im-

 portantly, this is not a notice for a $2 coupon. And it is not being received by consumers with a

 phalanx of unrelated concerns and a stack of commercial solicitations and endless product cata-

 logues. Rather, this is a notice sent to professionals about matters at the core of their occupa-

 tional responsibility and expertise. This class of community water systems was sent notice multi-

 ple times, and the nature and outcome of the action makes their interest predictable.

        9.      The publication notice was not via small print in Parade Magazine, but in the July

 issues of American Water Works Association Magazine, Public Works Magazine and American

 City and County Magazine. The notice is concentrated into the media environment of class

 members.

        10.     More than 1,000 class members have responded to the noticed class. And the

 names, addresses and financial stake of each is known or available. The initial estimate projected

 157 members of the class receiving from $20,000 to $50,000 in cash recovery, 96 from $50,000

 to $100,000, 151 from $100,000 to $500,000, 14 from $500,000 to $1 million, and one above $1

 million.

        11.     The formula for allocation between class members appears to relate to their re-

 spective volumes, and restorative/protective safeguard costs.

        12.      The attributes commending this settlement include (a) the high number of class

 members who will receive compensation, (b) the ancillary benefits to the action in terms of pub-

 lic health awareness and contamination prevention, (c) the ends to which the recompense are




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 likely to be applied. Importantly, this case could have been the culmination of 1,800 separate

 lawsuits. Without the class mechanism and the legal work of the plaintiffs’ firm, this would – at

 best – produce a consolidated case with multiple parties, possibly hundreds of separate counsel

 (particularly given the geographic breadth of the class and the interest of local counsel in repre-

 senting local agencies), confused and repetitive discovery for the defendant, and an inefficient,

 difficult to manage case for the multiple courts likely to receive filings from agencies in perhaps

 50 different states. Or, if the case is somehow quickly assigned to one court – to the lucky juris-

 diction trying to deal with so many plaintiffs and counsel. It is a nightmare waiting to happen.

 Ironically, class actions are often justified in theory because without binding together many small

 amounts in a world of mass marketing – there would be no remedy. But this case illustrates the

 perhaps more powerful merits of the converse – it is a dispute that is likely to draw litigation in-

 terest from several hundred of these class members. Most have counsel available and as they are

 made aware of their unacceptable contamination levels, are going to demand some compensation

 from the source of the contamination. So it is the very likelihood that there will be numerous

 private, individual actions that makes the class mechanism of particular value here. It achieves

 an economy of scale outcome that would be difficult to arrange by any other means. To be sure,

 lacking this effort, some of the class members may invite others to join their endeavors. Because

 of the breadth of the class territory, it is likely even so that we would end up with merely 30 or

 40 cases of multiple agencies suing this defendant. That somewhat better alternative is less than

 ideal. The one arranged by plaintiffs’ counsel through this class mechanism has important pub-

 lic policy merit – the agencies who contribute to one legal effort, the defendant does not suffer

 death by a thousand cuts, the courts are able to accomplish a result with noteworthy efficiency,

 and the general public benefits from a preventive remedy for a very real public health hazard.




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                                   Applicable Standards as to Fees

        13.      I also have reviewed the settlement insofar as it involves an attorney fee claim of

 1/3 of the class settlement value, after reimbursement of costs. In my opinion, particularly given

 the matters discussed above, it is fair and reasonable. It is not usual for me to so opine as to a fee

 that may reach $35 million, and certainly the 33 1/3% is a ceiling and I would not opine favora-

 bly on any number above it. But, again, there is unusual merit here. First, this is not a coupon

 case where the offending defendant will offer a 10% discount for his product – achieving a com-

 petitive advantage that will provide a marketing advantage for him vis-à-vis those in the same

 industry who obeyed the law. Second, there is not here a large fund that will revert to the de-

 fendant – and where the “coupon” class benefit is theoretical and will not come close to the total

 payout to the class. Those fee applications are properly questioned strictly or disapproved – par-

 ticularly where they yield percentages to counsel of 80% or even 500% of the amount actually

 received by the class. The first criterion in evaluating a percentage of the common fund applica-

 tion is just that – is it a percentage of an amount that will be taken from the defendant and given

 to the class. If it is, the examination properly moves to the next step: Is the percentage of the

 fund an appropriate measure?

        14.     There are two somewhat related methods for calculating fees in cases where a ma-

 jor benefit beyond the named plaintiffs is conferred and a common fund is created. The first may

 trigger the lodestar plus multiplier approach of the private attorney general fee. But the federal

 courts have rejected that mechanism in the Alyeska case 421 U.S. 240 (1975). Instead, the fed-

 eral circuits have more generally embraced the common fund doctrine here at issue. In my opin-

 ion, that embrace is subject to abuse and is best applied with care.




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        15.     In my opinion, under no circumstances should a court countenance a fee beyond

 50% of the Fund maximum. Below that ceiling, extant practices in most states countenances a

 range of from 20% to 35% of the fund achieved. One summary of the law is provided by the Il-

 linois Institute for Continuing Legal Education, in Section 10.33 “The Customary Fee”, authors

 Robert Holstein and Gina Fietsam summarize common fund percentages as applied by federal

 courts nationally, as follows:

        “...traditionally, courts in this district and elsewhere have awarded fees in the range of

        20% to 30% of the recovery” (citing Feder v. Harrington, 58 F.R.D. 171 (S.D.N.Y.

        1972); Mesh v. Goldfield Corp., 60 F.R.D. 595 (S.D.N.Y. 1973); Opplander v. Standard

        Oil Co. of Indiana, 64 F.R.D. 597 (D.Colo. 1974); Bleznak v. C.G.S. Scientific Corp., 64

        F.R.D. 493 (E.D. Pa. 1973); Gerstle v. Gamble-Skogmo, Inc., 366 F.Supp. 638 (E.D.N.Y.

        1973); Perlman v. Feldmann, 160 F. Supp. 310 (D. Conn. 1958), et al.

        16.     The CLE discussion adds:

        “Further, the courts, in search of fairness and judicial economy, make comparisons of the

        fees requested with the percentages awarded in other cases. The court In re King

        Resopurces Company Securities Litigation, 420 F. Supp. 610 (D.Colo. 1976), cited its re-

        search showing that fee allowances in class actions under the federal securities laws have

        been ‘within the generally accepted range of twenty (20%) to thirty (30%) of the benefits

        bestowed upon the class.’”

 [Holstein and Fietsam, Federal Civil Practices, Class Actions, §10.33 “The Customary Fee”, Illi-

 nois CLE, 1993.] The Illinois CLE handbook and other sources cite the Ampicillin Antitrust Lit-

 igation, 81 F.R.D. 395 (D.D.C. 1978) and In re Penn Central Securities Litig., 416 F. Supp. 907

 (E.D. Pa. 1976), see also the handbook’s chart of judgment and fees included in §10.42. Finally,




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 the Illinois CLE advisory cites the Illinois decision in Hochschuler v. G.D. Searle & Co., No. 75

 C 4182 (N.D. Ill. August 2, 1985) awarding 30% of a substantial fund, concluding that “the

 small amount of damages incurred by each individual plaintiff commended a percentage of the

 fund approach.”

        17.      Other experts have noted that contingency fees in high risk cases taken to trial

 will sometimes yield a 50% fee, and other have placed the proper range for a percentage of fund

 award in the 20% to 40% range. See Jerold S. Solovy, Testimony in Support of the Fund Theory

 Before the Honorable Albert Green in Hoffman v. First National Bank, (June 1990), Illinois CLE

 Handbook, supra, at §10.43.

        18.      The Holstein analysis adds: “... the courts, in search of fairness and judicial

 economy, make comparisons of the fees requested with the percentages awarded in other cases.

 The court in In re King Resources Company Securities Litigation, 420 F. Supp. 610 (D.Colo.

 1976), cited its research showing that fee allowances in class actions under the federal securities

 laws have been ‘within the generally accepted range of twenty percent (20%) to thirty percent

 (30%) of the benefits bestowed upon the class.’” [Holstein and Fietsam, FEDERAL CIVIL

 PRACTICE, Class Actions, §10.33 “The Customary Fee”, 1993].

        19.      This requested fee is at the high end of the 20-35% common range as it calculates

 to 30.67% of the total fund after reimbursement of expenses. But it does not seek the 40% often

 sought by plaintiffs’ counsel (and to which I would object), and 1/3 is a not uncommon market

 assessment by contingency counsel – even where judgments are obtained pre-trial or after short

 periods of litigation. Importantly, and as a threshold matter, it is based here on actual payments

 made and received – not a fictional or manipulated amount.




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        20.     And other factors are relevant: (a) The attorneys here have worked the case for

 more than six years. It is a case involving controversy and complexity – as well as expert opin-

 ion and other costs. (b) The prosecution of this case by counsel for all 1,800 class members

 benefitting, even if organized into groupings, is likely to cost all of them combined more than

 the claimed sum over 6 to 7 years of litigation – where paid at market level by the hour – possi-

 bly substantially more. (c) There is a public health benefit here that warrants consideration. We

 all take our drinking water for granted. We assume it will not harm us. At the same time, agri-

 culture is highly mechanized and delivers millions of tons of chemicals onto our crops and into

 our soil. We take it for granted that someone, somewhere protects us. Perhaps a government

 agency at the federal level. But agriculture does not have the FDA pre-approval system. It does

 not have the inspectors visiting the meat butchering plants. And the accumulated affect of a con-

 taminant is a real concern for those of us who represent the interests of children.

        21.     The case is complex and difficult, with high risk, the response of the class has

 been obviously substantial – even extraordinary vis-à-vis consumer class actions. The case has

 been litigated for a substantial period. The risks are great and the compensation to counsel are

 contingent.

                                               Opinion

        22.     As discussed above, it is my opinion that this settlement, including its attorneys’

 fee provision and its class recovery elements, is fair and reasonable. I pray that the Honorable

 Court considers the analysis proffered above in evaluating the proposed settlement, including the

 fees in the instant case. I remain available to answer any questions or to provide any additional

 information that the court may find useful.




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        23.     I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.

 Executed on Friday, October 12, 2012 in San Diego, California.




                                                    Robert C. Fellmeth
                                             Price Professor of Public Interest Law




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ROBERT C. FELLMETH
(Legal Ethics, Consumer, Unfair Competition Related)

University of San Diego School of Law
5998 Alcalá Park
San Diego, California 92110
(619) 260-4806, fax (619) 260-4753, cpil@sandiego.edu

EDUCATION:            Stanford University
                      A.B. 1967 With Distinction
                      Honors in Humanities

                      Harvard University Law School
                      J.D. 1970
                      Editor, Harvard CR-CL Law Review

LEGAL EXPERIENCE:
1968     Intern for the Arms Control and Disarmament Agency of the U.S. State Department

Professor Fellmeth worked on Non-Proliferation Treaty ratification, and reviewed classified
international cables and early memoranda relevant to SALT-type agreements under General Counsel
George Bunn.

1969-72       Associate, Center for Study of Responsive Law

In 1968, Professor Fellmeth co-authored The Nader Report on the Federal Trade Commission with John
Schulz and Edward Cox. The report criticized the FTC Act for its limited “cease and desist” remedies, and
the FTC for inaction. The year after the report’s release, President Nixon requested an inquiry by a
committee of the American Bar Association. Several recommendations in the two reports were enacted
into law in 1973 and 1975. During the release of the FTC report, the Nader researchers were called
“Nader’s Raiders” by the press.

In 1969, Professor Fellmeth raised foundation funds, recruited, and organized groups of law students
and young professionals investigation to work with Ralph Nader. The subsequent research produced
books including: Vanishing Air, Water Wasteland, Sewing the Wind, Chemical Feast, and legislative
drafts to address consumer and environmental problems documented (e.g., early drafts of the Water
Pollution Control Act of 1970). Professor Fellmeth also directed a group in a study of the Interstate
Commerce Commission, resulting in the book: The Interstate Commerce Omission.

In 1970, Professor Fellmeth directed a study of land use policies in California, which was rewritten in
book form as The Politics of Land.


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1972-73        Director, Nader Congress Project

In 1972-73, Professor Fellmeth directed the Nader Congress Project, recruiting journalists, students, and
professors for work in Washington, D.C., and in each of the fifty states and 435 congressional districts.
The Project produced profiles on each member of Congress. Profiles included census and election data,
district spending by agency, floor and committee votes, campaign contributors, background, legislation
authored, and other information. The Project published the paperback Who Runs Congress? (Zwick,
Fallows, and Green, Bantam Press, 1972), and published the major part of its work in 1976: a
six-volume study of the Congress and its major committees — Ruling Congress, The Finance
Committees, The Money Committees, The Commerce Committees, The Environment Committees, and
The Judiciary Committees. Fellmeth wrote the Foreword to Who Runs Congress and part of the
Commerce Committees book edited by David Price.

1973-81        Deputy District Attorney, San Diego County Office of the District Attorney
1979-81        Assistant United States Attorney, U.S. Attorney’s Office, Southern District of
               California

In 1975, Professor Fellmeth formed the local prosecution specialty division to pursue antitrust
violations. The new unit filed 22 civil and criminal antitrust cases against entities such as Revlon
Corporation, TFI Companies, Inc., Atlantic Richfield Company (ARCO), and the National Association
of Realtors, alleging price-fixing, kickbacks, exclusive dealing, group boycotts, tie-ins, predatory
practices, and other white collar crimes which injure small business, the marketplace, and consumers.
Reported cases include People v. National Association of Realtors, 120 Cal. App. 3d 459 (1981), and
People v. Mobile Magic Sales Inc., 96 Cal. App. 3d 1 (1980). In 1975 and 1976, Professor Fellmeth
drafted bills to revise California’s antitrust and unfair competition statutes. In 1977, four of those bills
were enacted into law (Assembly Bills 1158, 1159, 1160, and 1162). These bills altered California’s
Unfair Competition Law (the state FTC Section 5 counterpart) from Civil Code Section 3369 to Bus. &
Profs. Code Section 17200 et seq. adding most of its current investigatory, jurisdictional and sanction
provisions.

In 1977-80, Professor Fellmeth argued People v. Pacific Land Research, 20 Cal. 3d 10 (1977), before
the California Supreme Court; this case declared a public civil Unfair Competition Act prosecution to be
separate and distinct from private counterparts. He also argued Corsetti v. Rice, 21 Cal. 3d 431 (1978),
before the California Supreme Court; this case sustained the vertical price-fixing prohibition on liquor
notwithstanding alleged state authority for required resale prices. Also during this period, Professor
Fellmeth drafted local bidding and regulatory ordinances; and published, lectured, and consulted to
assist other local prosecutors in the enforcement of state antitrust and unfair competition statutes.

In 1979, Professor Fellmeth was cross-commissioned as a special Assistant United States Attorney to
begin a program of federal antitrust prosecutions from U.S. Attorney’s offices lacking Antitrust Division
presence.

1977-Present    Professor of Law, University of San Diego School of Law
1992-Present    Price Professor of Public Interest Law, University of San Diego School of Law

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Since 1977, Professor Fellmeth has taught a variety of courses at the University of San Diego (USD)
School of Law — including Consumer Law, California Administrative Law and Practice, Public Interest
Law Clinic, White Collar Crime, Criminal Procedure, Trade Regulation, Regulated Industries, Child
Rights and Remedies, and Child Advocacy Clinic. In 1983, Professor Fellmeth was awarded full tenure
as a School of Law faculty member. In 1990, Professor Fellmeth was designated as the inaugural
holder of the Price Chair in Public Interest Law, an endowed faculty chair created by a $1.8 million gift
from philanthropists Sol and Helen Price. In 1997, Professor Fellmeth was named a “University
Professor” for “outstanding, balanced, cumulative career contributions supporting the mission and
goals of USD.”
In 2012 he won the Thorsnes Prize for outstanding scholarship based on his text “Child Rights and
Remedies.”

1980-Present Director, Center for Public Interest Law
1980-95      Editor-in-Chief, California Regulatory Law Reporter

In 1980, Professor Fellmeth created the Center for Public Interest Law (CPIL), an academic center of
research, teaching, and advocacy in public interest and administrative law at the USD School of Law.
The Center focuses its efforts on the study of state agencies and boards which regulate business,
professions, trades, and the environment. Through its student interns, CPIL examines and analyzes the
activities of fifty state regulatory agencies, and — between 1980 and 1995 — educated the public on the
decisions of these agencies in its legal journal, the California Regulatory Law Reporter. CPIL’s goal is
to make the regulatory functions of state government more efficient, visible, and accountable by serving
as a public monitor of state administrative agencies, and by representing otherwise unrepresented
interests in government and judicial proceedings.

In addition to its research and scholarship, CPIL functions as a statewide public interest law firm on
behalf of consumers. Through its professional staff located in San Diego and Sacramento, and assisted
by student interns, CPIL drafts and sponsors legislation, litigates test cases, and engages in public
advocacy on behalf of underrepresented diffuse and future interests. CPIL projects have included the
creation by regulatory petition of the Utility Consumers’ Action Network (UCAN), a 65,000-member
entity now representing ratepayers before the California Public Utilities Commission; the creation of the
Privacy Rights Clearinghouse, focusing on personal informational privacy; court defense of Proposition
103, the 1988 insurance rate reform initiative (Calfarm Ins. Co. v. Deukmejian, 48 Cal. 3d 805 (1989));
advocacy on behalf of open meetings and related “sunshine” statutes (AB 214 (Connelly) (Chapter 936,
Statutes of 1985) and AB 2476 (Connelly) (Chapter 641, Statutes of 1986)); institution of a legislative
“sunset review” process for state occupational licensing agencies (SB 2036 (McCorquodale) (Chapter
908, Statutes of 1994) and subsequent active participation in the sunset process); government campaign
contribution and ethics reform (e.g., Propositions 68 and 131); special prosecutor legislation (AB 410
(Killea)); reform of the state’s physician discipline system (SB 2375 (Presley) (Chapter 1597, Statutes
of 1990), SB 916 (Presley) (Chapter 1267, Statutes of 1993), and SB 609 (Rosenthal) (Chapter 708,
Statutes of 1995)); economic crime legislation (AB 2249 (Friedman) (Chapter 1616, Statutes of 1990,
which enacted the California Corporate Criminal Liability Act); SB 163 in 2011 revising the structure of
the State Bar Board of Governors, and other legislation, rulemaking, and litigation projects.

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1984-85         Partner: Lorenz, Alhadeff, Fellmeth, Arkin & Multer (private law firm)
1985-87         Partner: Clark & Gumpel (private law firm)
1987-92         California State Bar Discipline Monitor

Professor Fellmeth was appointed to a 1986 legislatively created position of State Bar Discipline
Monitor by then-state Attorney General John Van de Kamp in January 1987. The position was charged
to investigate California’s attorney discipline administered by the State Bar and to recommend reforms
to the legislature and the Chief Justice of the California Supreme Court. Assisted by CPIL, Professor
Fellmeth drafted and published reports on the system every six months for five years, commencing with
the first report issued on June 1, 1987. During his term, Professor Fellmeth assisted with the drafting
and legislative advocacy of SB 1498 (Presley) (Chapter 1159, Statutes of 1988), and other reform
proposals. These included the creation of a State Bar Court appointed by the Supreme Court and
independent of the practicing bar.

1989-Present Executive Director, Children’s Advocacy Institute

In 1989, Professor Fellmeth created the Children’s Advocacy Institute (CAI) as part of the Center for
Public Interest Law at the USD School of Law. CAI operates the Child Advocacy Clinic at the School
of Law representing allegedly abused and neglected children. As an academic center, CAI trains future
lawyers to represent the interests of children, and as a statewide law firm, advocates on their behalf in
the courts, the legislature, before administrative agencies, and through public education programs.


REPORTED CASES LITIGATED:

       People v. Pacific Land Research, 20 Cal. 3d 10 (1977) (amicus for CDAA)
              Private and public antitrust/unfair competition cases not subject to mandatory
              consolidation

       Corsetti v. Rice, 21 Cal. 3d 431 (1978) (amicus)
              Vertical price fixing in wine sales, state action defense not available without bona fide
              independent state supervision

       People v. Mobile Magic Sales Inc., 96 Cal. App. 3d 1 (1979)
              Antitrust; tie ins, required market power and product definition, preliminary injunction
              criteria

          People v. National Association of Realtors, 120 Cal.App. 3d 459 (1981)
                Price fixing, tie-ins, group boycotts, restraints pertain to multiple listing services

       People v. National Association of Realtors, 155 Cal. App. 3d 578 (1984)
              Scope of Unfair Competition Act includes antitrust, calculation of civil penalties liberal


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      Tom Hudson and Associates v. City of Chula Vista 746 F.2d 1370 (9th Cir., 1984)
           A statute may confer “state action” immunity to a city to grant trash haul exclusive
           contracts (monopolies) without separate state supervision

      Pacific Gas and Electric v. Public Utilities Commission 475 U.S. 1 (1986) (amicus)
              Utility free speech rights limit billing insert rights granted by PUC to consumer group

      49er Chevrolet v. General Motors, 803 F. 2d 1463 (9th Cir., 1986).
            A franchisor may influence the prices set by franchisees

       Calfarm Ins. Co. v. Deukmejian, 48 Cal. 3d 805 (1989) (w/ Cotchett, Rosenfield, et al.)
             Proposition 103 constitutional except for CUB provision and limited by fair rate of return
             assurance as to rollbacks and maximum rates

      Center for Public Interest Law v. Fair Political Practices Commission 210 Cal.App.3d 1476
             (1989) Proposition 68 (campaign finance reform) not reconcilable with proposition 73
             which received more votes on similar subject area, canceling 68

      Austin v. Michigan State Chamber of Commerce 494 U.S. 652 (1989) (amicus)
             Right of state to control political campaign contributions

      Leon S. Kaplan v. County of Los Angeles 894 F.2d 1076 (9th Cir., 1990)
             High assessment ($80,000) to gain access to official voter’s pamphlet for judicial
             candidate not a constitutional violation

      State of California v. American Stores Company 495 U.S. 271 (1990) (amicus)
              Application of merger/monopoly law to retail grocery chains

     Le Bup Thi Dao v. Board of Medical Quality Assurance (w/ Wheaton) (1st Dist.Ct. Of Appeal
           Case No. A046101 (1990)        Civil rights may lie in categorical denial of licensure by
           Medical Board to Vietnamese physicians educated in Saigon who escaped to US and met
           all examination and internship qualifications

      Belth v. Gillespie (w/ Oshiro) 232 Cal.App.3d 896 (1991)
              Public Records Act request regarding junk bond related records of Department of
              Insurance not exempt and attorney’s fees appropriate

      Moore v. California State Bd.of Accountancy (w/ J.D’Angelo) 2 Cal. 4th 999 (1992) (amicus)
            Board rule that only CPAs may use term “accountant” in describing themselves overly
            broad and in restraint of trade

     Lyon v. Franchise Tax Board 4 Cal.App.4th 267 (1992)
            Solar power tax credit not available although qualified under adopted rules

      Gerald Rubin v. Norma Green 4 Cal.4th 1187 (1993) (amicus)
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             State Bar Act not amenable to private enforcement through the Unfair Competition Act

       MWD v. Imperial Irrigation District, et al. 80 Cal.App.4th 1403
           Transfer of water to higher use must be facilitated by MWD wheeling at out-of- pocket
           rates where space available under applicable law; MWD denied confirmation of rates at
           high levels which blocked transfer and water conservation. CPIL served as public
           interest intervenor and granted party status. The trial court adopted CPIL’s argument
           concerning the interpretation of state wheeling statutes, but the Los Angeles based
           Second District Court of Appeal reversed, upholding MWD prices at many times
           marginal cost effectively inhibiting the transfer of water to best, highest and most
           environmentally sound use.         MWD then settled the case prior to Supreme Court
           disposition and CPIL collected private attorney general fees.

     James W. OBrien v. Bill Jones 23 Cal. 4th 40 (2000) (amicus for CPIL)
           Revisions to the State Bar Act allowing legislative appointment of two of the five State
           Bar Court judges and eliminating the one non-attorney judge from the Review Panel
           upheld.

      United States of America v. Visa, et al. 344 F.3d 229 (2d Cir. 2003) Amicus brief written with
             Yale Law School Professor Ian Ayres on behalf of many consumer groups seeking
             Second Circuit affirmation of the trial court finding of antitrust violations in the capture
             of all banking based credit card marketing by Visa and Mastercard. See U.S, District
             Court for the Southern District of NY, No. 9807076 (BSJ). Second Circuit Docket No.
             02-6074(L). The plaintiffs allege that Visa and MC operate largely in concert, and
             preclude by explicit boycott arrangement by any bank with American Express, Discover,
             or other new entrants. Brief supports government position that antitrust offenses have
             occurred and remediation is necessary and was filed on July 3, 2002, resulting decision
             affirmed prosecution.

      Scripps Clinic v. Superior Court (Patricia Thompson, et al.) 108 Cal.App.4th 917 (2003) an
             amicus brief advocating reversal of a demurrer to plaintiff’s complaint. Plaintiff
             contended that a major medical provider group (over 600 physicians) implements a
             policy automatically terminating from all provider services any patient who files an
             “intent to file suit notice” against any of the physician members. The policy
             automatically terminates such plaintiffs, and all members of their immediate family, from
             subsequent treatment by any participating physician without reference to the merits of the
             complaint. CPIL argued that this practice was violative of constitutionally grounded
             public policy and was voidable as an unfair act in competition. The decision of the
             Fourth District Court of Appeal held that no business practice can be “unfair” under the
             Unfair Competition Act (Bus. & Profs. Code Section 17200) unless also violating an
             existing statute or rule, effectively foreclosing the plaintiff’s action. CPIL drafted an
             amicus letter for the Supreme Court to review this erroneous holding (Section 17200 by
             origin is a remedy for common law – nonstatutory – business tort offenses). The
             petition received two of the four votes necessary for its granting. .

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        Sinaiko v. Medical Board of California C045502 an amicus brief to the Third Appellate
               District urging the granting of a petition for review by a disciplined physician. The
               Medical Board disciplined Robert Sinaiko, M.D. for administering common anti-fungal
               treatment to an alleged ADHD child in order to test a possible allergen based cause for
               his symptoms. The trial court upheld the discipline because Sinaiko failed to follow the
               expert advisory “step ladder approach” of Ritalin or other amphetamine administration.
               The amicus brief of CAI argued that reflexive amphetamine prescriptions to children now
               include over 4 million under treatment and cited the extensive and recent evidence of
               problems, harms and overuse – relying primarily on National Institutes of Health findings
               over the last two years. It urged reconsideration of the Board-imposed regimen of
               amphetamine administration and the sanctioning of those who seek – without harm or
               danger – scientifically based alternatives. In January of 2004, the petition was granted
               to hear the case, in November of 2004 the court of appeal reversed the decision of the
               ALJ and remanded for reconsideration, holding that the hearing failed to consider the
               expert testimony of the Respondent.

        David Mittleholtz v. IMR (SDSC Case No. GIC846200/BC267700), counsel for the plaintiff
class
               (Norman Blumenthal and David Arias lead counsel) in case brought in Los Angeles and
               transferred to the Honorable John Meyer in San Diego superior court. Case was filed on
               2-7-02 and alleged contamination of alleged herbal remedies outside of FDA regulation
               by small quantities of prescription drugs to affect symptoms of prostate cancer (product
               PC-Spes), arthritis (RA-Spes), breast cancer and other alleged cures. The contaminants
               included DES, xanax and coumadin. Court awarded $28 million to the class in August
               of 2007.

        Shames v. Hertz, in United States District Court for the Southern District of California, No.
              07CV 2174H, Counsel (as CPIL) for plaintiff class alleging antitrust price fixing offenses
              by the 7 rental car corporations operating out of California airports, and Bagley-Keene
              Open Meeting Act violations by the California Travel and Tourism Commission. Case
              pending.

        Devin Daniels v. Phillip Morris, No. 07-740, amici curiae brief to the U.S. Supreme Court on
              behalf of petitioners seeking writ of certiorari contesting a California Supreme Court on
              behalf of both CPIL and CAI, December 29, 2007. The case involves a state supreme
              court precedent that a class action challenging a tobacco industry marketing effort that
              targets youth for purchase and addiction must be dismissed. The court held that even
              the state’s broad Unfair Competition Law cannot be applied to such tobacco marketing
              because it is preempted by the Federal Tobacco Labeling Act and by commercial free
              speech rights of tobacco as enunciated in the U.S. Supreme Court Lorillard precedent.
              Case is pending.

CONSULTING EXPERT TESTIMONY [Selected Cases]


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Jan. 1991   Consultant to U.S. Attorney's Office (William Hayes) to serve as expert witness for the
            federal government on legal ethics in U.S. v. Stites (prosecution of attorneys in Orange
            County for abuse of Cumis counsel status, mail fraud and overbilling. Prepared rebuttal
            for anticipated defense of “custom and practice.” No testimony was offered, but was
            retained as an expert to testify in rebuttal depending on the nature of the defense.

Jan. 1991   Expert witness for defendants in In Re Technical Equities Coordinated Litigation (Santa
            Clara County Superior Court No. 600306, Coordination Proceeding Master File No.
            1991); hired by Thelan, Marrin, Johnson & Bridges in approximately October 1990; was
            deposed on January 15, 1991, regarding the nature and intent of section 17200 of the
            Business and Professions Code defining unfair competition.

Dec. 1992   Expert witness for Fireman's Fund Insurance Company in Tarkington, O'Connor &
            O'Neill v. Firemen's Fund Insurance Company, Alternative Adjudication No. 91-3
            (Robert Kroninger, Arbitrator) regarding attorney billing practices and fair competition.
            Retained by McNitt, Edwards & Schraner, 701 B Street, 10th Floor, San Diego, CA
            92101; opposing counsel was Tarkington, O'Connor & O'Neill, One Market Plaza,
            Spear Street Tower, 41st Floor, San Francisco, CA 94015. Was deposed on December
            2, 1992; testified at arbitration hearing on January 20, 1993.

Feb. 1993   Consultant in areas of ethics and professional responsibility; retained by Rosenfeld,
            Meyer & Susman, 9601 Wilshire Blvd., Fourth Floor, Beverly Hills, CA 90210-5288, in
            Armitrage v. Pope, San Diego County Superior Court case no. 689073, on behalf of
            Gibson, Dunn & Crutcher in connection with professional negligence/breach of fiduciary
            duty litigation. Opposing counsel includes Jennings & Drakulich, 12770 High Bluff
            Drive, Suite 270, San Diego, CA 92130; Levine, Stenberg & DePasquale, 1200 Third
            Avenue, Suite 1400, San Diego, CA 92101; and Call, Clayton & Jensen, 610 Newport
            Center Drive, Suite 700, Newport Beach, CA 92660.

Nov. 1993   Served as expert witness for the Attorney General in disciplinary proceedings against a
            Superior Court judge in San Diego; details of the proceedings of the Commission on
            Judicial Performance are confidential. Testified before the Commission panel.

Jan. 1996   Expert consultant/witness at request of the United States in U.S.v. Malkus et al.; federal
            RICO prosecution of three San Diego judges and attorney Patrick Frega for alleged
            corruption. Did not testify. Conviction occurred November of 1996.

Aug. 1996   Retained as expert on merger mitigation matter in Public Utilities Proceeding (Pacific
            Bell-SWBell Merger) by the Utility Consumers’ Action Network (UCAN). Submitted
            Testimony September 26, 1996, Reply Testimony November 21, 1996.

Mar. 1999   Retained as expert in Bosco and Saskia Smith cases before Montana Supreme Court by
            Ross and Hardies, of Chicago (Bob Carter, Patricia Moots) representing St. Paul
            Insurance. 312-750-2769. Case involves requested rule of court by petitioners “In the

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             Mater of the Rules of Professional Conduct and Insurer Imposed Billing Rules and
             Procedures” Montana Supreme Court #98-612. The request would void use of outside
             independent auditors in reviewing attorney fee bills, in particular the standards of review
             undertaken (prior approval to hire expert, approval of discovery plan, etc). Filed
             Affidavit Report with the court to be used by principal expert Prof. Hazard in April 1999.
             .

Mar. 1999    Retained as expert by Steinbock & Hoffman, 408-298-3800 re Unfair Competition Act
             investigation involving First Alliance Mortgage Company (FAMCO) dealing with
             elderly consumers. Case filed by AARP, settled in 2001.

Feb. 1999    Retained by Much, Shelist, Freed, Denenberg, Ament & Rubenstein of Chicago
             312-346-3100 re Landin v. LA Cellular, LA superior court #BV143305; case concerns
             “dropped call” policy of Deft. and application of Unfair Competition Act, primary
             jurisdiction doctrine et al. submitted expert declaration in April 1999. Case settled in
             2001.

1993-1998    Retained by District Attorney of San Diego County and by State Attorney General to
             consult on white collar crime offense investigations and prosecutions, and remedies;
             leading to People v. Cox Cable and 3 companion cases, and People v. Oso Niguel and 8
             companion cases, et al. Cases settled for civil penalties, injunctive and restitutionary
             relief. The cable companies are compelled to offer cy pres relief including the wiring of
             individual classrooms throughout their territories for broad band education reception,
             arranged through the County Office of Education.

Jan. 2000    Retained by Don Hildre, DHildre@aol.com; 232-9131, cell phone 954-2212; fax
             232-7317 re Castano and Related Litigation: Fee Award Arbitration, concerning
             national tobacco       litigation, the Master Settlement Agreement, and proper attorney
             fee award under applicable law , focusing on the Davis, Ellis v. Philip Morris setttlement
             in California as the vehicle for fees. Consulted with plaintiff counsel in hearing
             preparation in New Orleans, testified at the hearing in New York. The three judge panel
             awarded substantial fees to the California counsel, including the 200 Castano attorneys
             litigating the case nationally. Although binding arbitration, a New York trial court has
             voided the award on technical grounds, and it is currently on appeal.

April 2000   Retained by John Van de Kamp, President and General Counsel, Thoroughbred Owners
             of California W. Huntington Drive, Arcadia, CA 91007, consultation re technical
             matters relevant to purse calculations, regulatory standards, enforcement policies, and
             other organizational needs requiring statutory/regulatory/case law analysis.

Feb. 2001    Retained by the District Attorney of San Diego County to investigate possible economic
             crimes involving gasoline pricing within San Diego County. Report on impediments to
             competitive pricing submitted to the District Attorney in 2002, testimony before the
             Port District Board in 2002.

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Mar. 2001    Retained by the District Attorney to investigate possible antitrust offenses by Duke
             Energy and other power producers during the 2000-2002 energy crisis. Drafted
             prefiling document discovery in five successive waves, evaluated documents, made
             confidential recommendations. Case settled in October of 2004 statewide for $207
             million. Office of District Attorney receives $3.2 million, $440,000 for costs and the
             remainder to fund and endow the Energy Policy Initiatives Center (EPIC) in San Diego
             County to work for solar and other renewable energy, educate the public and officials and
             represent the interests of county ratepayers.

Aug. 2002    Member of Attorney General Task Force on the Reform of California’s Unfair
             Competition Act.

Sept. 2002   Retained by the Los Angeles Office of District Attorney, consumer fraud division
             (Michael Kraut and Allan Fork) on criminal prosecution of “Ponzi Scheme”
             sold to low-income women in Los Angeles. Testified at trial on October 15, 2002.
             Defendants convicted of criminal fraud.

Oct. 2002    State Bar of California v. Trevor Law Group, et al. Expert Witness for the Office of
             Trial Counsel of the State Bar in investigating certain counsel allegedly bringing mass
             Unfair Competition Act cases against small businesses and demanding settlements.

Feb. 2003    Retained by the Office of Chief Trial Counsel of the State Bar of California as an expert
             witness in the case of State Bar vs. Trevor Law Group and involving alleged abuses of
             the private attorney general authority conferred under the state’s Unfair Competition Act
             (Bus. & Profs. Code Section 17204), including the submission of settlement demands to
             over 1,000 auto shops based on minor citations issued by the Bureau of Automotive
             Repair and other mass demands for compensation. Interim suspension order granted by
             the State Bar Court in May of 2003.

Nov. 2004    Retained by the State Bar (President John VanDeKamp) to review documents and
             interview enforcement personnel and advise the Board of Governors on the performance
             of the disciplinary system and on recommended improvements.

Jan. 2006    Retained by the State Bar of Washington for expert testimony in the disbarment case of
             Shane Han, one of the partners of the Trevor Law Group (see above).

June 2006    Retained by the District Attorney of San Diego County to assist in the investigation and
             possible prosecution of antitrust and commercial bribery offenses by major insurance
             carriers and insurance brokers in the area of employer sponsored life, disability and
             health insurance.

Jan. 2008    Appointed “Consumer Rights Ombudsman” by the federal bankruptcy court in the
             Shuttermart Case, San Diego Bankruptcy Case No. 07-05110-H7. The position is

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             required where privacy rights may be implicated in a bankruptcy settlement. Report
             prepared for the Court (Hon Laura Taylor).

July 2010    Retained by the District Attorneys of Los Angeles, Ventura and San Diego Counties
             regarding title insurance restraints of trade, kickbacks and unfair competition.

Aug 2011     Retained by the District Attorneys of 7 counties to assist in the investigation into propane
             tank pricing and labeling antitrust and unfair competition issues.


TEACHING:
    Faculty of the National Judicial College (1978)

      Faculty of National College of District Attorneys (Antitrust and Trade Regulation) (1975-80)

      Faculty of the California Judicial College (1991)

      Faculty of University of San Diego School of Law (1977-present)
             Price Professor of Public Interest Law (1992-present)

APPOINTMENTS / SERVICE:

1976-81      Commissioner, Athletic Commission, State of California

             In December 1976, Professor Fellmeth was appointed to a four-year term as one of five
             commissioners regulating boxing, wrestling, and karate in California, serving as Chair in
             1978 and 1979. He was reappointed in 1981 to complete the drafting of a statute creating
             a comprehensive disability and pension plan for professional boxers (California Business
             and Professions Code § 18880 et seq.), and served as chair that year, resigning in 1982.
             During Professor Fellmeth’s tenure, the Commission conducted a competition study
             leading to deregulation of wrestling et al., established a medical review committee, and
             created the nation’s only pension plan for boxers.

1981-85      Board of Directors, Consumers Union of U.S. (publisher of Consumer Reports)

1986-91      Board of Directors, California Common Cause; Litigation Chair 1989-91

1994-1997    Member, Committee on Judicial Appointments for the Southern District

1995-1998    Consultant, Unfair Competition Act Project, California Law Revision Commission

2000-2001    Member, San Diego County Election Campaign Finance and Control Commission

2001-2003    Member, Judicial Appointments Committee for the Southern District of California

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2001-Present Member, Board of Directors, First Star Foundation, (child advocacy), Washington,
             D.C.

1991-Present Board of Directors, National Association of Counsel for Children,
             2005 - present Executive Committee. 2010-2012 – President of the Board.

1992-Present Chair, Board of Directors, Public Citizen Foundation, Washington, D.C.

BOOKS

       THE NADER REPORT ON THE FEDERAL TRADE COMMISSION, with Schulz and Cox
             (Baron 1968)

       THE INTERSTATE COMMERCE OMISSION (Grossman 1970)

       THE VOTER’S GUIDE TO ENVIRONMENTAL POLITICS (contributor) (Ballantine 1970)

       WITH JUSTICE FOR SOME (contributor) (Beacon 1971)

       THE POLITICS OF LAND (Grossman 1972)

       AMERICAN GOVERNMENT, edited by Peter Woll (contributor) (Little, Brown 1972)

       PROFILES OF MEMBERS OF CONGRESS (editor) (Congress Project 1972)

       CORPORATE ACCOUNTABILITY AND THE AMERICAN CONSUMER, edited by Ralph Nader
       (contributor) (Grossman 1973)

       THE COMMERCE COMMITTEES, edited by David Price (contributor) (Grossman 1976)

       A TREATISE ON STATE ANTITRUST LAW, with Papageorge (Bureau of National Affairs 1978)

       CALIFORNIA ANTITRUST LAW AND PRACTICE, with Folsom (treatise) (Butterworths 1983)

       CALIFORNIA REGULATORY LAW AND PRACTICE, with Folsom (treatise) (Butterworths 1983,
       Supplements 1985, 1987, 1989)

       CALIFORNIA ADMINISTRATIVE AND ANTITRUST LAW, with Folsom (treatise) (Butterworths1991)

       CALIFORNIA WHITE COLLAR CRIME, with Papageorge (treatise) (Parker 1995, Supplements
       Lexis/Michie, Tower 1997, 1999, 2d Ed. 2001, 2003, 3d Ed. 2010).

       HEALTH AND WELFARE FOR FAMILIES IN THE 21ST CENTURY, Edited by Helen Wallace
            (contributor) (Jones & Bartlett, 1998, 2d edition, 2001.4th edition, 2007)


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      CHILD RIGHTS AND REMEDIES (text) (Clarity Press, 2002, 2d Ed. 2006, 3d Ed. 2010).

PUBLISHED REPORTS: [For Recent Reports and Articles, see www.cpil.org or
www.caichildlaw.org

      The Interstate Commerce Commission, The Public Interest And The ICC: The Ralph Nader
      Study Group Report On The Interstate Commerce Commission And Transportation (New York:
      Grossman Publishers 1970)

      Power and Land In California: Preliminary Draft (Washington, D.C.: Center for Study of
      Responsive Law 1971)

      Robert H. Mollohan: Democratic Representative From West Virginia (New York: Grossman
      Publishers 1972)

      Antitrust Practice for the Business Lawyer (CEB, March 1975)

      California State Antitrust Law (CEB, February 1982)

      Developments in California Regulatory Law (CEB, August 1982)

      A Code Blue Emergency: Physician Discipline in California, (CPIL, April 5, 1989) at
            http://www.cpil.org/download/Code_Blue_Report.pdf

      Proposition 103 (CEB, August 1989)

      Reports of the State Bar Discipline Monitor, appointed by the Attorney General pursuant to
      legislation, to the Judiciary Committees of the State Legislature and to the Chief Justice of the
      Supreme Court :
      Initial Report of the State Bar Discipline Monitor (June 1,1987), see
      http://www.cpil.org/download/Bar_Monitor_Initial_Report.pdf.
      First Progress Report of the State Bar Discipline Monitor (November 1, 1987)
      Second Progress Report of the State Bar Discipline Monitor (April 1, 1988)
      Third Progress Report of the State Bar Discipline Monitor (September 1, 1988)
      Fourth Progress Report of the State Bar Discipline Monitor (March 1, 1989)
      Fifth Progress Report of the State Bar Discipline Monitor (September 1, 1989)
      Sixth Progress Report of the State Bar Discipline Monitor (March 1, 1990)
      Seventh Progress Report of the State Bar Discipline Monitor (September 1, 1990)
      Eighth Progress Report of the State Bar Discipline Monitor (March 1, 1991)
      Final Report of the State Bar Discipline Monitor (September 1, 1991), see
      http://www.cpil.org/download/Bar_Monitor_Final_Report.pdf.

      The Role of CUBS in the Reclamation of American Government, Foreword to Citizen Utility
      Boards, Because Utilities Bear Watching, Beth Givens, (CPIL, 1991), 115 pages, see
      http://www.cpil.org/download/CUB_Report.pdf.

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        COMMISSION, State of California, November 1996
.

ACADEMIC/PROFESSIONAL ARTICLES:

       The Freedom of Information Act and the Federal Trade Commission: A Study in Malfeasance, 4
       HARV. CIV. RTS.-CIV. LIB. L. REV. 345 (Spring 1968)

       Local Prosecution of Antitrust Violators: A Survey of State Laws, CLASS ACTION REPORTS, Vol.
       4, No. 3, at 376 (1976)

       A Public Agency Antitrust Manual, National Association of District Attorneys (June 1977)

       Antitrust Enforcement by Local Prosecutors, 14 CAL. W. L. REV. 1 (1978)

       Regulation By Local Government — A Case Study of Monopoly, State Nonfeasance and Promised
       Corruption, 3:1 CAL. REG. L. REP. 3 (Winter 1983)

       A Theory of Regulation: A Platform for State Regulatory Reform, 5:2 CAL. REG. L. REP. 3 (Spring
       1985)

       The Discipline System of the California State Bar: An Initial Report, 7:3 CAL. REG. L. REP. 1
       (Summer 1987)

       Regulation of Telecommunications Utility Modernization Investments: A Proposal to Require an
       Economic Impact Statement, 8:1 CAL. REG. L. REP. 1 (Winter 1988)

       Beyond Regulation: The Indigenous Problem of Attorney Self-Importance and Abuse of the
       English Language, 8:2 CAL. REG. L. REP. 8 (Spring 1988)

       What’s Wrong with Lawyers?, L.A. DAILY J., August 31, 1988 at 3

       Ethics and the Law, 1:4 ETHICS (Josephson Institute) (1989)

       Physician Discipline in California: A Code Blue Emergency, 9:2 CAL. REG. L. REP. 1 (Spring
       1989)

       The Seminal Regulatory Issue of the ‘90s: Media Regulation and Competition, 9:4 CAL. REG. L.
       REP. 9 (Fall 1989)

       On the Decline of the American Model: The Ascendancy of the False Ideologues, 10:4 CAL. REG.
       L. REP. 8 (Fall 1990)

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      Six Radical Ideas, 11:4 CAL. REG. L. REP. 16 (Fall 1991)

      Airline Deregulation: Crash Landings and the Parachute of Aristotle, 12:2&3 CAL. REG. L. REP.
      1 (Spring/Summer 1992)

     Beyond Airlines: The Failures of Modern Deregulation, 12:2&3 CAL. REG. L. REP. 4
     (Spring/Summer 1992)

     How to Litigate for Children, 4:1 Child Advocates’ Information Exchange 6 (Winter 1993)

     The Attorney General’s “Circle of Error” Casts a Shadow Over California’s Sunshine Laws,
     13:1 CAL. REG. L. REP. 1 (Winter 1993) (with D’Angelo).

     On Reforming the Regulation of Lawyers, Bulletin of the Federation of State Medical Boards
     (Spring 1993)

     A Perspective on California’s Regulation of Tax Preparers, Certified Public Accountants,
     Architects, and Landscape Architects, 13:4 CAL. REG. L. REP. 5 (Fall 1993) (with D’Angelo)

      Do It Yourself: How Businesses Can Bypass the Legislative Process, L. A. DAILY J., February 15,
      1995

      Agency Access: Rule-Making Procedures Are Complex But Manageable, L.A. DAILY J., March
      15, 1995

      Having An Agenda: How to Gain Notice of Proposed Agency Action, L. A. DAILY J., April 19,
      1995

     Freedom and License: Examining Agencies’ Power to Discipline Licensees, L.A. DAILY J., May
     17, 1995

     Changing the Rules: The Office of Administrative Law Faces Defunding, L.A. DAILY J.,
     June 21, 1995.

     Representation of the General Public Under California’s Unfair Competition Act, 5:1
     COMPETITION (the journal of the Antitrust and Trade Regulation Section of the State Bar of
     California) (Summer 1995)

      Food Fight: On Challenges to Marketing Order Requirements, L.A. DAILY J., September 20,
      1995

      Sunset Screen: Determining a Board’s Life Span, L.A. DAILY J., October 18, 1995


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      Bar Tending: How Agencies May Justify Their Existence, L.A. DAILY J., November 15, 1995

     Walking the Line: Holding Agency Counsel to Professional Standards, L. A. DAILY J., December
     20, 1995

     Unfair Competition Act Enforcement by Agencies, Prosecutors, and Private Litigants: Who’s On
     First?, 15:1 CAL. REG. L. REP. 1 (Winter 1995)

     No Class: Advantages of Mandamus Actions, L. A. DAILY J., January 17, 1996

     Utter Truth: Regulation and the First Amendment, L. A. DAILY J., February 21, 1996

      Countering Charges: How to Respond to Agency Enforcement, L.A. DAILY J., March 20, 1996

     Lessons of the Dues Debacle, CALIFORNIA BAR JOURNAL, June 1998

     The Optimum Remedy for Constitutional Breaches: Multi-Accessed Civil Penalties in Equity,
     PEPPERDINE LAW REVIEW, Volume 26: 923, No. 4, 1999

      Preserve a Quiet Place for Decisions, CALIFORNIA BAR JOURNAL, September 2000, at 8.

     Summit: Taking the Offensive [Proceedings of the 2001 National Public Interest Law Summit] 40
     San Diego L. Rev. 1-244, editor of the compendium of transcripts, briefing materials, et al. The
     proceedings, broadcast over the internet, included four topics: campaign finance reform, court
     reform, agency reform, and legislative process reform. Twenty national leaders from
     organizations such as the ACLU, NAACP Legal Defense Fund, Natural Resources Defense
     Council, Common Cause, Public Citizen, and 15 others were convened in San Diego by CPIL to
     discuss in public the future of public interest advocacy, set priorities, and plan collaborations.

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           *The State Bar: Should People Be Required to Feed the Political Fund of a Group 5:1
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           *State Bar Entry Standards: When and How Do We Apply Prior Restraints?, 5:1 CAL.
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      “A Critique of the FTC” before the U.S. Senate Operations Committee (1969)

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      Commerce Committee (1970)

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     See also D. 89-10-031 (October 12, 1987) 33 CPUC2d 43.

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     17, 1988)

     “A Deregulated Rate Policy” before the Public Utilities Commission in Case No. 87-11-033
     (September 19, 1988)

     “Trucking Deregulation” before the Public Utilities Commission in Case No. 88-08-046 (October
     31, 1988)

     “Insurance Regulation” before the Insurance Commissioner in File No. REB-1002 (consolidated)
     (December 11, 1989)

     “What’s Wrong with Lawyers?” — keynote address at the HALT Convention, Washington, D.C.
     (1989)

     “Sunrise Criteria” — testimony before the California Commission on California State
     Government Organization and Economy (“Little Hoover Commission”) (February 24, 1989)

     “A Wall of Integrity” — testimony before California Assembly Select Committee on Ethics
     (April 5, 1989)

     “A Commentary on Media Trends” before the Annual Sacramento Media Awards Banquet (May
     18, 1989)

     “The Case for Legal Reform” — keynote address at the HALT Convention, San Francisco, CA
     (September 9, 1989)

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      Menninger Youth Care Conference, Menninger Villages, KS (October 20, 1989)

      “Professional Discipline, California Administrative Law in the Nineties: On the Cutting Edge,”
      ABA Section on Administrative Law and Regulatory Practice (February 10, 1990)

      “Affordable Legal Services in California” — testimony before the Senate Judiciary Committee
      (October 24, 1990)

      “What Nader Stands For,” 25th Anniversary of Unsafe at Any Speed (September 14, 1990)

      “Four Radical Ideas” — the Traynor Lecture before the California Association of Judges (July 23,
      1991)

      “Discipline of Physicians in California,” Medical Summit of Medical Board of California (March
      18, 1993)

      Luncheon Keynote Speaker before the Board of Directors of the California Medical Association
      (May 7, 1993)

      “Insurance Rebating Issues” — comments before the State Insurance Commissioner (May 15,
      1994)

      “Reform of State Bar Discipline” — testimony to the Discipline Evaluation Committee (“Alarcon
      Commission”) evaluating the attorney discipline system of the State Bar of California (May 25,
      1994)

      “Litigation Tactics for Consumer Advocates” — presentation at four advocacy training seminars
      sponsored by the Center for Public Interest Law with a grant from the California Consumer
      Protection Foundation (September-December 1995)

      “Sunset Review of Occupational Licensing Agencies” — presentation at the Annual Conference
      of the California Consumer Affairs Association, San Diego, CA (October 1995)

      “Assessing Board Performance” — presentation at the Citizen Advocacy Center’s Conference on
      Regulating Health Care Professionals, San Diego, CA (November 1995)

      “Regarding California Public Utilities Commission Restructuring” — comments before the
      California Commission on California State Government Organization and Economy (“Little
      Hoover Commission”) (August 29, 1996)

      “Southwestern Bell-Pacific Telesis Merger Proceeding” — comments before the Public Utilities
      Commission (expert witness testimony at the request of the Utility Consumers’ Action Network)
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      of District Attorneys, San Diego, CA (December 2, 1996)

      “Managed Care Regulation,” - testimony before a joint meeting of the Assembly Health
      Committee and the Senate Insurance Committee, February 24, 1998

      “How to Win Respect for Attorneys,” keynote before the National Conference of Bar Presidents,
      ABA Conference, Los Angeles, California (February 5, 1999)

      “Cable and Telephony History – Where Are We Going and What Will Be the Effect on the
      Digital Divide?”, Conference on the Digital Divide, Center for Science, Technology and Society,
      Santa Clara University School of Law and PacBell, March 24, 2000, Santa Clara, California.

      “Local Government and Ethical Issues for Public Counsel,” William Todd Inn of Court,
      November 15, 2000, San Diego, California

      “Where Should Bar Discipline Be Heading,” keynote to the National Association of Bar Counsel,
      February 14, 2001, San Diego, California.

      Convenor on behalf of CPIL of the 2001 Public Interest Law Summit, University of San Diego,
      March 23, 24, 2001; Moderator of Session of Court Reform, see www.cpil.org.

     “Reform of the Unfair Competition Act,” Testimony before an informational hearing of State
     Senate Business and Professions Committee, January 10, 2003, Santa Ana, California.

     “History and Problems Concerning Section 17200 of the Bus. & Profs. Code,” Testimony before
     a joint hearing of the state assembly and senate Judiciary Committees, Sacramento, CA, January
     14, 2003.

     Brief of Amicus Curiae CPIL on Anticompetitive Aspects of Title Insurance, Before Insurance
     Commissioner John Garamendi, June 1, 2003, File No. S715404, OAH No. N2002070670 at
             http://www.cpil.org/download/Amici_Curiae_Brief.pdf.

      “The Status of Unfair Competition Law Abuses and Reform Efforts,” Panel of the California Bar
      Section on Antitrust, San Francisco, California, May 7, 2004.

      “Comments on the California Performance Review Initial Report,” Presentation to the California
      Performance Review Commission, Sacramento, California, September 27, 2004

      “Justifications and Efficacy Standards for State Commissions and Boards,” Presentation to the
      Little Hoover Commission, Sacramento, California, December 8, 2004.

      Testimony of the Center for Public Interest Law before the Little Hoover Commission on the

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            http://www.cpil.org/download/lhc_GRP1_Jan2005.pdf.

      Testimony to the Senate Committee on Government Modernization, Efficiency and
      Accountability, Hearing in San Diego, February 3, 2005.

      Participant, Fred Friendly Seminar, “Justice for All: Public Trust and Confidence in the California
      Courts, Statewide Judicial Branch Conference, Judicial Council of the Supreme Court, San Diego,
      California, September 7, 2005.

       If I Don’t Speak Up, Who Will?, (Moderator of panel) San Diego for Open Government
      Conference, San Diego California, October 29, 2005.

      A Critique of the Athletic Commission’s Performance in Implementing the Boxer Pension System
      Mandated by Law, before the Athletic Commission of the State, January 25, 2006, Los Angeles,
      California.

      Comment on Proposed Rules Implementing the Mental Health Services Act (Proposition 63), June
      5, 2006, to the California Department of Mental Health.

      Comments re Proposed Rules Pertaining to Permanent Disbarment, Before the State Bar of
      California, June 6, 2006.

      On Compensation for Statewide Officers, Testimony before the California Citizens Compensation
      Commission, June 23, 2006, Sacramento.

      Attorney Insurance Disclosure and Client Rights, State Bar of California, August 3, 2007

      CPIL Testimony on Structural Reform and the State Bar Before the State Bar Governance in
      the Public Interest Task Force, January 10, 2011, See
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           http://www.cpil.org/download/SB.163.Evans.Support.Brown.pdf.

     1988 - present Testimony before committees of the California Legislature relevant to CPIL and
     CAI sponsored legislation (See CPIL discussion above). For other testimony, letters and
     commentaries, see http://www.cpil.org/research-advocacy.htm.

AWARDS AND HONORS:

      Holder, Price Chair in Public Interest Law (1992 - present)

      Named “Community Champion, for thirty years of work in injury prevention” by the Civil Justice

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      Foundation (1997)

      University Professorship, University of San Diego (1997-98)

      Thorsnes Faculty Award for Scholarship (2012)




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